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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                          Filed Electronically: May 14, 2018

IDEKER FARMS, INC., et al.,          )
                                     )
            Plaintiffs,              )     Case No.: 1:14-cv-00183-NBF
      v.                             )
                                     )     Senior Judge Nancy B. Firestone
UNITED STATES OF AMERICA,            )
                                     )
            Defendant.               )


 UNITED STATES’ RESPONSE TO COURT’S ORDER DIRECTING BRIEFING ON
              EFFECTS OF ST. BERNARD PARISH DECISION


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                                        INTRODUCTION

        Pursuant to the Court’s April 20, 2018 Order, the United States’ submits this response to

the Court’s order “addressing how the St. Bernard Parish decision affects the plaintiffs’ motion

for reconsideration.” ECF No. 431. The Federal Circuit’s decision in St. Bernard Parish makes

clear that Plaintiffs’ Motion for Reconsideration should be denied because their theory of

causation is legally incorrect. Because Plaintiffs failed to apply the correct standard there was a

failure of proof on a threshold legal issue. For the reasons stated in the United States’ Motion for

Reconsideration, 1 ECF No. 436, this Court should deny Plaintiffs’ motion and dismiss all

Plaintiffs’ claims.

                                           ARGUMENT

        On April 20, 2018, the Federal Circuit issued its decision in St. Bernard Parish v. United

States, 887 F.3d 1354 (Fed. Cir. 2018). The Federal Circuit reversed the trial court and held that

“both the plaintiffs and the Claims Court failed to apply the correct legal standard, which

required that the causation analysis account for government flood control projects that reduced

the risk of flooding.” St. Bernard Parish, 887 F.3d at 1357. Specifically, the Federal Circuit

noted that “in the remand decision of Arkansas Game, [it] clarified that the appropriate analysis

for causation considers all government actions.” Id. at 1364 (citing Arkansas Game & Fish

Comm’n v. United States, 736 F.3d 1364, 1372 n.2 (Fed. Cir. 2013)). The Federal Circuit

“explained that ‘the proper comparison would be between the flooding that occurred prior to the

construction of [the dam] and the flooding that occurred during the deviation period,’




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  While Plaintiffs’ failure of proof requires denial of Plaintiffs’ motion for reconsideration and
dismissal of all Plaintiffs’ claims, depending on any future rulings on liability, and as noted by
the United States in ECF No. 430, at 1 n.1, the United States also may seek reconsideration of
the Court’s findings pursuant to RCFC 42(c)(2).
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emphasizing that the causation analysis considers causation based on the entirety of government

action, not merely the deviation from the original water-release policy.” Id. at 1364-65 (quoting

Arkansas Game, 736 F.3d at 1372 n.2).

       Like plaintiffs in St. Bernard Parish, Plaintiffs here “failed to consider the impact of the

risk-reducing project.” 887 F.3d at 1367-68. Plaintiffs were required to prove that the flooding

that actually occurred on their properties was more than the flooding that would have occurred if

the United States had never built the reservoirs, constructed or repaired levees, or implemented

the Bank Stabilization and Navigation Project. But Plaintiffs offered no evidence on that point

and their motion for reconsideration does not address this issue. Rather, Plaintiffs incorrectly

compared actual water surface elevations after the Corps’ 2004 reservoir system and river

management changes to only estimated water surface elevations without such changes. Pls.’

Mot. for Recons., ECF No. 429 at 2; see also Ideker Farms, Inc. v. United States, No. 14-183L,

2018 WL 1282417, at *15 (Fed. Cl. Mar. 13, 2018). Accepting that theory, the Court found that

some Plaintiffs satisfied their burden of establishing causation, but that other Plaintiffs did not,

specifically Plaintiffs whose claims related to the 2011 flooding and the L-575 and Union

Township levees. Ideker Farms, Inc., 2018 WL 1282417, at *15. Even if those Plaintiffs had

shown that changes to the Corps’ ongoing flood control efforts after 2004 had caused flooding

that unchanged Corps operations might have prevented, such proof could not establish causation

for purposes of a taking. As in St. Bernard Parish, the Court must reject Plaintiffs’ takings

claims here because “there was a failure of proof on the key issue of causation.” 887 F.3d at

1368. Thus, the Federal Circuit’s decision in St. Bernard Parish dictates that this Court should

deny Plaintiffs’ motion for reconsideration and dismiss all Plaintiffs’ claims.




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                                         CONCLUSION

       The Court should deny Plaintiffs’ motion for reconsideration as the St. Bernard Parish

decision makes clear that Plaintiffs failed to apply the correct causation standard. This Court

should therefore deny Plaintiffs’ motion and dismiss all Plaintiffs’ claims.

       Respectfully submitted this 14th day of May, 2018.
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